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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 SHIVA STEIN,                                              :
                                                           :
                   Plaintiff,                              : Civ. No.     1:21-cv-6248-LAP
                                                           :
 v.                                                        :
                                                           :
 LYDALL, INC., MARC T. GILES, SARA A. :
 GREENSTEIN, DAVID G. BILLS, JAMES J. :
 CANNON, PAUL W. GRAVES, SUZANNE                           :
 HAMMETT, and KATHERINE C. HARPER, :
                                                           :
                   Defendants.                             :
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                            NOTICE OF VOLUNTARY DISMISSAL

        Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Shiva Stein hereby voluntarily dismisses her individual claims in the above-

captioned action (the “Action”) with prejudice. Because this notice of dismissal is being filed with

the Court before service by Defendants of either an answer or a motion for summary judgment,

Plaintiff’s dismissal of the Action is effective upon filing of this notice.

DATED: December 20, 2021                                Respectfully submitted,

                                                      MELWANI & CHAN LLP

                                                      /s Gloria Kui Melwani
                                                      Gloria Kui Melwani (GM5661)
                                                      1180 Avenue of the Americas, 8th Floor
                                                      New York, New York 10036
                                                      Tel: (212) 382-4620
                                                      Email: gloria@melwanichan.com

                                                       Attorneys for Plaintiff
